(WDNC Rev. 01/17) Summons ina Civil Action

UNITED STATES DISTRICT COURT
for the
Western District of North Carolina

TIMOTHY SCOTT

Plaintiff

v. Civil Action No, 3:19-cv-294

BANK OF AMERICA, N.A., EQUIFAX
INFORMATION SERVICES, LLC., EXPERIAN
INFORMATION SOLUTIONS, INC., and TRANS
UNION, LLC.

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Defendant

SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address)

BANK OF AMERICA, N.A.

SERVE: Bank of America Corporate Center
100 North Tyron Street
Charlotte, North Carolina 28255

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiff's attorney, whose name and address are:

Leonard A. Bennett, Esq.

Consumer Litigation Associates, P.C.
763 J. Clyde Morris Boulevard, Suite 1-A
Newport News, Virginia 23601

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

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Civil Action No. 3:19-cy-294

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summon for (name of individual and title, if any)

 

was received by me on (date)

 

 

 

 

QO I personally served the summons on the defendant at
(place)
on (date) 5 or
O I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who
resides there, on (date) , and mailed a copy to the individual’s last

 

known address; or

 

 

 

a I served the summons on (name of individual) ;
who is designated by law to accept service of process on behalf of (name of organization)
on (date) 3 or
Oo I returned the summons unexecuted because ; or

 

Oy Other (specify):

 

My fees are $ for travel and $ for services, for a total of

$

I declare under penalty of perjury that this information is true.

Date:

 

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:

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